









 












&nbsp;

IN THE

TENTH COURT OF
APPEALS

&nbsp;




 
  
 
 
  
  
 


&nbsp;

&nbsp;



No. 10-05-00191-CV

&nbsp;

In re Richard Owen Taylor

&nbsp;

&nbsp;



Original
Proceeding

&nbsp;

&nbsp;



MEMORANDUM&nbsp;
Opinion



&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
petition for writ of mandamus is denied.

PER CURIAM

&nbsp;

Before Chief Justice Gray,

Justice Vance, and

Justice Reyna

Petition denied

Opinion delivered and filed May
 4, 2005

[OT06]








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